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                  Levine Kellogg Lehman Schneider + Grossman LLP
                                           22nd Floor, Miami Center
                                             201 S. Biscayne Blvd.
                                             Miami, Florida 33131
                                            Tax ID No. XX-XXXXXXX




    Tax I.D.: XX-XXXXXXX


    Jeffrey C. Schneider, as Receiver                                                  August 1, 2012
    for Trade-LLC, BD LLC, TWTT-LLC                                                        Bill # 4393
    and CMJ Capital LLC

    Re:           78509-003
                . Trade LLC - Receivership

                                                Professional Fees

                  Atty     Description                                             Hours      Amount
    12/01/11      JCS      Draft website update.                                    0.20        52.00
    12/01/11      JCS      Attention to issues regarding M. Baransky.               0.10        26.00
    12/02/11      JCS      Continue attention to 1099 issues.                       0.60       156.00
    12/03/11      JCS      Review investor email regarding 1099 issue.              0.10        26.00
    12/03/11      JCS      Strategize regarding 1099 issue.                         0.30        78.00
    12/05/11      JCS      Review and respond to emails from investors              0.40       104.00
                           regarding 1099 issue.
    12/06/11      JCS      Review Silent Standby dismissal notice and initial       0.20        52.00
                           disclosures.
    12/06/11      JCS      Attention to issues (and review and respond to CPA's     0.40       104.00
                           emails) regarding 1099 issues.
    12/08/11      JCS      Attention to issues regarding 1099-R.                    0.30        78.00
    12/14/11      JCS      Review order regarding status report.                    0.10        26.00
    12/19/11      JCS      Attention to issues regarding J. Ackerman fee            0.30        78.00
                           request.
    12/20/11      JCS      Review IRS letter.                                       0.10        26.00
    12/21/11       JCS     Review and respond to investor inquiries.                0.30        78.00
    12/21/11       JCS     Attention to issues regarding IRA check for investor.    0.20        52.00
    12/22/11       JCS     Attention to issues regarding investor objections,       0.40       104.00
                           1099's, and omnibus motion regarding same.
    12/23/11       JCS     Review and respond to CPA and group emails               0.30        78.00
                           regarding 1099's and attendant deadlines to issue
                           same.
    01/03/12       JCS     Review CFTC status report.                               0.10        26.00
    01/03/12       JCS     Attention to issues regarding 1099.                      0.10         26.00




                                                           EXHIBIT

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                Case 9:10-cv-80737-DTKH
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                               Client Ref:                           78509 - 003                                                                                                          August 1, 2012
                               Bill # 4393                                                                                                                                                       Page 2

                                                                                                      Professional Fees

                                                             Atty        Description                                                                                             Hours               Amount
                               01/04/12                      JCS         Attention to investor Inquiries.                                                                           0.20                 52.00
                               01/04/12                      JCS         Attention to issues regarding 1099's.                                                                      0.30                 78.00
                               01/11/12                      JCS         Attention to issues regarding 1099's.                                                                      0.20                 52.00
                               01/12/12                      JCS         Attention to Issues regarding 1099 issues.                                                                 0.30                 78.00
                                01/18/12                     JCS         Review and revise motion for summary disposition                                                           0.40               104.00
                                                                         and affidavit in support.
                               01/19/12                      JCS         Attention to issues regarding investor inquiries.                                                          0.20                 52.00
                                01/24/12                     JCS         Attention to issues regarding 1099's.                                                                      0.30                 78.00
                                01/25/12                     JCS          Draft investor letter.                                                                                    0.20                 52.00
                                01/25/12                     JCS          Attention to issues regarding 1099's.                                                                     0.20                 52.00
                                01/27/12                     JCS          Attention to issues regarding 1099's.                                                                     0.30                 78.00
                                01/31/12                     JCS          Review and revise investor letter.                                                                        0.20                 52.00
                                02/02/12                     JCS          Review IRS letter regarding form 1065.                                                                    0.20                 52.00
                                02/03/12                     JCS          Review and analyze balance sheet.                                                                         0.40               104.00
                                02/03/12                     JCS          Attention to Issues regarding final distribution.                                                         0.60               156.00
                                02/03/12                     JCS          Attention to issues regarding 1099 to investors.                                                          0.20                 52.00
                                02/03/12                     JCS          Draft letter to investors.                                                                                0.30                 78.00
                                02/04/12 JCS                              Review emails from investors regarding 1099's.                                                            0.30                 78.00
                                02/06/12                      JCS         Revise investor letter.                                                                                   0.30                 78.00
                                02/06/12                      JCS         Continue attention to 1099 issues.                                                                        0.30                 78.00
                                02/06/12 JCS                              Meeting with team regarding final distribution and                                                        0.40               104.00
                                                                          closing case.
                                02/07/12                      JCS         Revise investor letter.                                                                                   0.30                 78.00
                                02/07/12 JCS                              Review and respond to emalls from CPA's.                                                                  0.20                 52.00
                                02/09/12                      JCS         Review and respond to inquiries from investors                                                            0.40               104.00
                                                                          regarding 1099's.
                                02/13/12                      JCS         Review and respond to J. De Maria's em ails                                                                0.20                52.00
                                                                          regarding C. Reeves and T. O'Conner.
                                02/15/12                      JCS         Review order regarding summary disposition.                                                                0.10                26.00
                                02/15/12 JCS                              Conference with P. Rengstl regarding same.                                                                 0.20                52.00
                                02/16/12 JCS                              Review and revise notice letter and proof of service.                                                      0.20                52.00
                                02/17/12                      JCS         Review and revise motion for summary disposition of                                                        0.30                78.00
                                                                          PGPclaim.
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    Bill # 4393                                                                             Page 3

                                              Professional Fees

                  Atty    Description                                            Hours     Amount
    02/17/12      JCS    Strategize regarding PGP claim.                          0.20       52.00
    02/17/12      JCS     Review and revise report to court and investors.        0.80      208.00
    02/24/12      JCS     Review and respond to investor inquires.                0.60      156.00
    02/25/12      JCS     Review and respond to investor inquiries.               0.60      156.00
    03/01/12      JCS     Review AJ Watson sentencing motion.                     0.30       78.00
    03/05/12      JCS     Review emails from Jool investors.                      0.30       78.00
    03/05/12      JCS     Strategize regarding Jool investors.                    0.80      208.00
    03/06/12      JCS    Attention to issues regarding Silent Standby lawsuit.    0.30       78.00
    03/07/12      JCS     Prepare for call with CFF Receiver.                     0.70      182.00
    03/07/12      JCS    Attend call with CFF Receiver with A. Salazar and P.     0.30       78.00
                         Rengstl.
    03/08/12      JCS    Attention to issues regarding Silent Standby.            0.30       78.00
    03/08/12      JCS     Review and revise notice regarding Jool claims.         0.30       78.00
    03/16/12      JCS     Review filing by Jool Club investor.                    0.10        26.00
    03/19/12      JCS     Attention to issues regarding investor letter.          0.10        26.00
    03/26/12      JCS     Attention to issues regarding filing of report.         0.30        78.00
    03/28/12      JCS     Attention to issues regarding Center home.              0.10       26.00
    03/29/12      JCS     Review motion to compel.                                0.10        26.00
    04/17/12      JCS     Attention to issues regarding F. Freedman               0.20        52.00
                          deposition and transfer of funds issues.
    04/19/12      JCS     Attention to issues regarding Equity Trust.             0.10        26.00
    04/30/12      JCS     Attend meeting with C. Reeves and T. O'Conner           3.40      884.00
                          regarding cash transfers.
    04/30/12      JCS     Strategize regarding same.                              0.80      208.00
    05/01/12      JCS     Review JAD email.                                       0.10        26.00
    05/04/12      JCS     Travel to and from and attend deposition/settlement     4.40     1,144.00
                          conference with F. Freedman (Silent Standby).
    05/11/12      JCS     Strategize regarding Silent Standby settlement.         0.20        52.00
    05/14/12      JCS     Review and revise investor letter.                      0.20        52.00
    05/14/12      JCS     Meeting with team regarding final distribution.         0.40       104.00
    05/15/12      JCS     Review and revise motion for break order, affidavit,    1.30      338.00
                          and order.
    05/15/12      JCS     Strategize regarding same.                              0.40       104.00
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    Bill # 4393                                                                             Page 4

                                              Professional Fees

                  Atty   Description                                             Hours     Amount
    05/23/12      JCS    Review AJ Watson case docket.                            0.30       78.00
    05/24/12      JCS    Revise investor letter.                                  0.10       26.00
    06/06/12      JCS    Attention to issues regarding motion to make final       0.40      104.00
                         distribution.
    06/07/12      JCS    Meeting with team regarding final distribution motion    0.60      156.00
                         and process.
    06/08/12      JCS    Review break order.                                      0.10       26.00
    06112112      JCS    Attention to issues regarding tax returns.               0.20       52.00
    06/20/12      JCS    Attention to issues regarding T. O'Connor break          0.50      130.00
                         order.
    06/22/12      JCS    Review and respond to emails regarding execution         0.20       52.00
                         procedure regarding T. O'Connor break order.
    06/26/12      JCS    Attention to issues regarding T. O'Connor break          0.30       78.00
                         order.
    06/26/12      JCS    Attention to issues regarding late claim.                0.30       78.00
    06/27/12      JCS    Meeting with U.S. Marshalls in advance of T.             6.70     1,742.00
                         O'Connor search and conduct search of entire
                         property.
    06/28/12      JCS    Review emails regarding CFF issues and potential         0.20       52.00
                         claim with Stenger's estate.
   . 06/29/12. JCS        Review and respond to investor inquires.                0.20       52.00
    06/29/12      JCS     Review Silent Standby agreement's changes with P.       0.10        26.00
                          Rengstl.
    06/29/12      JCS     Review email regarding same.                            0.10        26.00
    07102/12      JCS     Review and revise status report regarding T.            0.90      234.00
                          O'Connor.
    07102/12      JCS     Review and respond to B. Levenson email.                0.20        52.00
    07109/12      JCS     Review and revise motion for final distribution.        0.80      208.00
    07/10/12      JCS     Continue reviewing and revising distribution motion.    0.90      234.00
    07/13/12      JCS     Review T. O'Connor letter.                              0.10        26.00
    07118112      JCS     Conference call with F. Freedman regarding              0.20        52.00
                          settlement.
    07/18/12      JCS     Final revisions to motion for final distribution.       0.40       104.00
    07/25/12      JCS     Attention to issues regarding changes to Silent         0.40       104.00
                          Standby agreement.
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    Bill # 4393                                                                              Page 5

                                             Professional Fees

                  Atty    Description                                             Hours     Amount
    07/30/12      JCS     Attention to issues regarding tax return preparation.    0.40      104.00
    07/31112      JCS     Attention to issues regarding reserve amount.            0.30       78.00

                                                Fee Summary

                  Name                                                    Hours              Amount
                  Jeffrey C. Schneider                                    44.80            11,648.00

                                   Total Fees                             44.80           $11,648.00

    Current Bill Total Amount DUE                                                         $11,648.00
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                   Please return this page with remittance
                                                  to
                         Levine Kellogg Lehman Schneider + Grossman LLP
                                      22nd Floor, Miami Center
                                        201 S. Biscayne Blvd.
                                        Miami, Florida 33131

    Bill #           4393
    Bill Date:       August 1, 2012
    Client Code:     78509
    Client Name:     Jeffrey C. Schneider, as Receiver
    Matter Code:     003
    Matter Name:     Trade LLC - Receivership

                                       Current Bill Total Amount Due      $11,648.00


                    Amount enclosed: _ _ _ _ _ _ _ _ _ _ _ _ __
